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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




 CHRISTOPHER MANHART, individually and on behalf
 of all others similarly situated,
                                                                      No. 1:24-cv-8209
         Plaintiff,
                                                                      Hon. Mary L. Rowland
 v.
                                                                      Magistrate Judge Keri L.
 NATIONAL      STUDENTS             FOR      JUSTICE         IN       Holleb Hotaling
 PALESTINE, et al,

         Defendants.




              DEFENDANT WESPAC’S MOTION TO JOIN MOTION TO STRIKE

         Defendant WESPAC Foundation, Inc. (“WESPAC”), by and through its attorneys,

respectfully moves to join co-defendants’ Motion to Strike filed at ECF 77, and in support of this

motion, states as follows:

         1.      On February 25, 2025, Defendants Dissenters, Jewish Voice for Peace, and

Individual Defendants filed their Motion to Strike Allegations from Second Amended Complaint.

ECF 77.

         2.      On February 25, 2025, Defendant National Students for Justice in Palestine filed a

motion requesting leave to join that Motion to Strike.

         3.      WESPAC respectfully seeks to join that motion and seeks the relief requested

therein for the reasons set forth in the Motion to Strike.
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      WHEREFORE, Defendant WESPAC respectfully requests leave to join the Motion to

Strike, ECF 77.

Dated: February 27, 2025                     HERBST LAW PLLC


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